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UNITED STATES DISTRICT COURT

 

 

SOUTHERN DISTRICT OF NEW YORK | DOC #: 3
xX } DATE FILED: 08/2021.
AARON FREEMAN,
Plaintiff, 20-CV-10040 (SN)
-against- ORDER
TREVOR JACOBSON, et al.,
Defendants.
X

 

SARAH NETBURN, United States Magistrate Judge:

On January 27, 2021, the parties appeared before the Court to discuss the Defendants’
pre-motion letter for their anticipated motion to dismiss. As discussed at the conference, the
Defendants shall file their motion by February 5, 2021. The Plaintiff shall oppose the motion by
February 19, 2021. The Defendants shall reply by February 26, 2021.

In addition, the parties are encouraged to contact Courtroom Deputy Rachel Slusher,
rachel _slusher@nysd.uscourts.gov, with three mutually convenient dates to schedule a

settlement conference, if it would be beneficial at this time.

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SARAH NETBURN
United States Magistrate Judge

SO ORDERED.

DATED: New York, New York
January 28, 2021
